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                                                                                        United States District Court
                                                                                          Southern District of Texas

                                                                                             ENTERED
                                                                                         November 30, 2015
                             UNITED STATES DISTRICT COURT
                                                                                          David J. Bradley, Clerk
                              SOUTHERN DISTRICT OF TEXAS
                                  MCALLEN DIVISION

RICARDO PUMAREJO, et al,                           §
                                                   §
             Plaintiffs,                           §
VS.                                                § CIVIL ACTION NO. 7:15-CV-101
                                                   §
STATE FARM LLOYDS,                                 §
                                                   §
             Defendant.                            §

                                              ORDER

           The Court now considers the “Stipulation of Dismissal,”1 filed by Ricardo and Irene

Pumarejo (“Plaintiffs”) and State Farm Lloyds (“Defendant”) announcing to the Court that the

parties agree to Plaintiffs dismissing their claims against Defendant. Pursuant to Federal Rule of

Civil Procedure 41(a)(1)(A)(ii), Plaintiffs and Defendant may dismiss an action without a court

order by filing a stipulation of dismissal signed by all parties. Since the stipulation of dismissal is

signed by both Plaintiffs, as well as by counsel for both Plaintiffs and Defendant, the parties have

effectively dismissed the case and no further action by this Court is necessary. Thus, the Clerk of

the Court is instructed to close the case.


           IT IS SO ORDERED.
           DONE at McAllen, Texas, this 30th day of November, 2015.


                                                      ___________________________________
                                                                 Micaela Alvarez
                                                            United States District Judge




1
    Dkt. No. 19.


1/1
